
ORDER
Considering the Petition for Transfer from Disability Inactive Status and the Petition for Interim Suspension Pursuant to Supreme Court Rule XIX, § 19 filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Byrlyne June Van Dyke, Louisiana Bar Roll number 23581, be and she hereby is reinstated to active status pursuant to Supreme Court Rule XIX, § 22(G). Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that respondent be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
FOR THE COURT:
/s/ Jeannette T. Knoll Justice, Supreme Court of Louisiana
